JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION

ORIGINAL MML.1431 AUG 2+ 2001

FILED
CLERK'S GEFICE

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

In re Baycol Products Liability Litigation : MDL Docket Number:

 

MOTION FOR TRANSFER AND COORDINATION AND/OR CONSOLIDATION
IN THE WESTERN DISTRICT OF PENNSYLVANIA UNDER 28 U.S.C. § 1407

Plaintiff/Petitioner Diane Rosenthal ("Plaintiff"), on behalf of herself and all others
similarly situated in a class action captioned Diane Rosenthal v. Bayer Corporation, A Division
of Baver AG, C.A. No. 01-CV-1574 (the "Rosenthal Action"), pending before the Honorable
Donald J. Lee in the United States District Court for the Western District of Pennsylvania,
respectfully moves the Judicial Panel on Multidistrict Litigation (the "Panel") for an Order
pursuant to 28 U.S.C. § 1407 and the Rules of Procedure of the Panel transferring virtually
identical class actions pending in different judicial districts against the same defendant, Bayer
Corporation ("Bayer" or "Defendant", and all related Baycol’ drug cases that are filed in or
removed to the federal courts, to the Western District of Pennsylvania for coordinated and/or
consolidated pretrial proceedings. In support of the motion, Plaintiff submits the accompanying

Memorandum and Schedule of Related Federal Actions, and avers as follows:

 

'Baycol, which was initially approved for sale in the United States in 1997, is a member
of a class of cholesterol-lowering drugs that are commonly referred to as “statins.” Statins lower
cholesterol levels by blocking a specific enzyme in the body that is involved in the synthesis of
cholesterol.

‘WED 0:25:01 OFFICIAL FILE COPY

 
1. The Rosenthal Action is brought on behalf of a proposed class consisting of all

persons in the United States or United States Territories who have suffered injury or may suffer
injury as a result of using Baycol (cerivastatin), a drug which is designed, manufactured,
supplied, distributed, sold, and/or placed in interstate commerce by Defendant Bayer. This
action seeks, among other relief, monetary damages and the establishment of a medical
monitoring program on behalf of all proposed class members to ensure prompt diagnosis and

treatment for individuals exposed to the potentially life-threatening side effects and diseases,

including rhabdomyolysis,” caused by the product Baycol. The Complaint filed in the Rosenthal

Action is attached hereto as Exhibit “A.”

2. The Rosenthal Action is pending in the Western District of Pennsylvania;
Defendant Bayer’s United States headquarters and principal place of business is located in the
Western District of Pennsylvania at 100 Bayer Road, Pittsburgh, Pennsylvania 15205.

3. At all times relevant hereto, Bayer, itself or by the use of others, did manufacture,
create, design, test, label, sterilize, package, distribute, supply, market, sell, advertise, and
otherwise distribute in interstate commerce the product Baycol.

4. More than 700,000 individuals residing in the United States have taken Baycol,
many in combination with gemfibrozil (Lopid and generics), another lipid-lowering drug.

5. Cases of fatal rhabdomyolysis associated with the use of Baycol have been

reported on a significantly more frequent basis than cases reported in connection with the use of

 

*Rhabdomyolysis is a condition that results in muscle cell breakdown and release of the
contents of muscle cells into the bloodstream. Symptoms of rhabdomyolysis include muscle
pain, weakness, tenderness, malaise, fever, dark urine, nausea and vomiting. In some cases the
muscle injury is so severe that patients develop renal failure and other organ failure, which can
be fatal.

 
other approved statins. So far, the United States Food and Drug Administration (“FDA”) has
received reports of at least 31 deaths of individuals residing in the United States due to severe
rhabdomyolysis associated with the use of Baycol.

6. There is currently at least two other class actions against Bayer, Steven Sparks, on
behalf of himself and all others similarly situated, v. Bayer Corporation, Docket No. 01-CV-1265
(W.D. Ok.) (the “Sparks Action”) and Evelyn Sternberg, on behalf of herself and all others
similarly situated, v. Bayer Corporation and Bayer A.G,, Docket No. 01-CV-55 57 (E.D.N.Y.)

(the “Sternberg Action”), which are based on virtually identical allegations as alleged in the

Rosenthal Action (collectively, the “Related Class Actions”).> The Complaints filed in the

Sparks Action and the Sternberg Action are attached hereto as Exhibits “B” and “C,”
respectively.

7. The factual allegations in each of the Complaints filed in the Related Class
Actions are virtually identical, as each of the actions assert claims on behalf of the class of all
persons or entities who purchased or otherwise use Baycol. See Exs. A-C, hereto.

8. The core factual allegations underlying the Related Class Actions are that: (a)
Baycol was defective due to inadequate post-marketing warning or instruction because, even
after Bayer knew or should have known of the risk of rhabdomyolysis and/or other injury

resulting from the use of Baycol, Bayer failed to provide adequate warnings to users or

 

Counsel for Plaintiff has, in good faith, attempted to ascertain all related Baycol drug
cases filed against Defendant and will bring to the Panel’s attention any other pending federal
actions concerning Bayer’s sale and distribution of Baycol as soon as practicable after we learn
of such actions. To the extent that the Panel determines that other related Baycol drug cases are
filed in or removed to the federal courts, Plaintiff respectfully requests that the Panel also transfer
those "tag along" actions to the Western District of Pennsylvania for coordinated and/or
consolidated pretrial proceedings.

 
consumers of Baycol and continued to aggressively promote Baycol; (b) Baycol was defective in
design or formulation in that, the foreseeable risks exceeded the benefits associated with the
design or formulation of Baycol and/or it was unreasonably dangerous; and (c) Bayer failed to
exercise ordinary care in the manufacture, sale, testing, quality assurance, quality control, and/or
distribution of Baycol into interstate commerce in that Bayer knew or should have known that
Baycol created a high risk of unreasonable, dangerous side effects, including, but not limited to,
rhabdomyolysis. See Exs. A-C, hereto.

9. The Related Class Actions raise common questions of law and fact, including, but
not limited to:

Whether Baycol causes injury, either alone or in combination with
gemfibrozil;

Whether Baycol is a dangerously defective product;

Whether Bayer is strictly liable for sales and distribution of a dangerously
defective product;

Whether Bayer negligently designed, manufactured, warned about,
promoted, advertised, marketed, and/or distributed Baycol;

Whether Bayer conducted appropriate testing of Baycol; and
Whether the serious side effects, injuries and damages from the use of
Baycol support the need for medical monitoring of persons who have used

the drug.’

The Related Class Actions were both filed less than two weeks ago and are in the

 

‘The Sparks Action sets forth generally its allegations of damages and the relief sought
therein.

 
initial stage of litigation.’ At this early stage, no preliminary orders have been entered; no

discovery or initial disclosures have been made; no motions have been submitted; and no
substantive rulings on motions to dismiss, motions for summary judgment, class certification or
other pretrial matters have been entered.

11. Since the Related Class Actions are in the beginning stage of the litigation, no
prejudice or inconvenience would result from transfer, coordination and/or consolidation.

12. The presence of at least two virtually identical, independent actions, situated in
different judicial districts, presents a substantial risk of inconsistent pretrial rulings on discovery
and other issues. In addition, the Related Class Actions before the Panel both seek certification
of virtually identical classes, see supra {{] 7-9, thus raising the prospect of overlapping or
inconsistent class determinations.

13. Discovery conducted in the Related Class Actions will be substantially the same
because the defendant in both actions is Bayer, virtually all of the charging allegations are
identical and, thus, the witnesses and documents will be the same in both litigations.

14. The Western District of Pennsylvania is the appropriate transferee forum. As
detailed in Plaintiff's accompanying Memorandum, the Rosenthal Action is pending -- and
Defendant Bayer’s United States headquarters and principal place of business is located -- in the
Western District of Pennsylvania. Consequently, most, if not all, of the parties, witnesses,

documents and other evidence which bear on this case are already located, or will be located, in

 

‘The Rosenthal Action was filed on August 16, 2001 in the Western District of
Pennsylvania and was assigned to Judge Donald J. Lee; the Sparks Action was filed on August
10, 2001 in the Western District of Oklahoma and was assigned to Judge Ralph G. Thompson,
the Sternberg Action was filed on August 16, 2001 in the Eastern District of New York and was
assigned to Judge John Gleeson.

 
the Western District of Pennsylvania.

15. Under these circumstances, early transfer and coordination and/or consolidation of
pretrial proceedings in the Western District of Pennsylvania will certainly promote the
convenience of the parties and witnesses and the just and efficient conduct of the action. It will
also avoid the potential duplication of discovery and inconsistent rulings, particularly on class
action issues and, on the part of the common Defendant, exposure to multiple claims arising out
of the same general course of conduct. The result sought by Plaintiff herein will result in a
significant saving of time and expense; the expedited, comprehensive and consistent
implementation of early equitable relief; the development of consistent law of the case; and the
fair and economical adjudication of the actions.

WHEREFORE, Plaintiff respectfully requests that the instant Rosenthal Action, the

Sparks Action, and the Sternberg Action be transferred and coordinated and/or consolidated for

pretrial proceedings in the Western District of Pennsylvania, and that all related Baycol drug

cases that are filed in or removed to the federal courts be transferred thereto as "tag along

actions."

 
DATED: August 2©, 2001

Respectfully Submitted,

SCHIFFRIN & BARROWAY, LLP

Ch doug frauesrey

Andrew L. Barroway, Esq.

Marc A. Topaz, Esq.

Three Bala Plaza East

Suite 400

Bala Cynwyd, Pennsylvania 19004
(610) 667-7706

LAW OFFICE OF ALFRED G. YATES JR.
Alfred G. Yates Jr., Esq.

Gerald L. Rutledge, Esq.

519 Allegheny Building

429 Forbes Avenue

Pittsburgh, Pennsylvania 15219

(412) 391-5164

CAULEY GELLER BOWMAN & COATES
Paul J. Geller, Esq.

2225 Glades Road

Suite 421A

Boca Raton, Florida 33431

(561) 750-3000

LAW OFFICES OF BRIAN FELGOISE
Brian Felgoise, Esq.

230 South Broad Street

Philadelphia, Pennsylvania 19102

Counsel for Plaintiff/Petitioner

 
JUDICIA
MULTIDIST!

ORIGINAL

FILED
CLERK'S OFFICE

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

In re Baycol Products Liability Litigation: MDL Docket Number:

 

SCHEDULE OF RELATED FEDERAL CASES

Diane Rosenthal, on behalf of herself and all others similarly situated, v. Bayer Corporation,

United States District Court for the Western District of Pennsylvania (Pittsburgh), assigned
to Judge Donald J. Lee, Civil Action No. 01-CV-1574.

Steven L. Sparks, on behalf of himself and all others similarly situated, v. Bayer Corporation,

United States District Court for the Western District of Oklahoma (Oklahoma City), assigned
to Judge Ralph G. Thompson, Civil Action No. 01-CV-1265.

Evelyn Sternberg, on behalf of herselfand all others similarly situated, v. Bayer Corporation

and Bayer, A.G., United States District Court for the Eastern District of New York
(Brooklyn), assigned to Judge John Gleeson, Civil Action No. 01-CV-5557.

12 SAY in02

491430 S.YYA19
Q3AI3I3Y

LE OV

 
7 JUDICIAL PANE!
MULTIDISTR:

OR | G] NAL AUG 21 2001

. FILED
CLERK'S OFFICE

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

In re Baycol Products Liability Litigation : MDL Docket Number:

 

CERTIFICATE OF SERVICE
The undersigned hereby certifies that, on August 20, 2001, a true and exact copy of the
foregoing Motion for Transfer and Coordination and/or Consolidation In the Western District of
Pennsylvania Under 28 U.S.C. § 1407, Memorandum In Support of Transfer and Coordination
and/or Consolidation In the Western District of Pennsylvania Under 28 U.S.C. § 1407, and Schedule
of Related Federal Cases was served by mailing a copy of same in a properly addressed and postage

prepaid envelope via the United States Mail upon on the following:

Diane Rosenthal, on behalf of herself and all others similarly situated, v. Bayer Corporation, United
States District Court for the Western District of Pennsylvania (Pittsburgh), assigned to Judge Donald
J. Lee, Civil Action No. 01-CV-1574.

Clerk of the Court
United States District Court

Western District of Pennsylvania
829 U.S. Courthouse

7 and Grant Streets
Pittsburgh, Pennsylvania 15219

Bayer Corporation (served for all three related actions)
100 Bayer Road
Pittsburgh, Pennsylvania 15205

 
Steven L. Sparks, on behalf of himself and all others similarly situated, v. Bayer Corporation, United
States District Court for the Western District of Oklahoma (Oklahoma City), assigned to Judge

Ralph G. Thompson, Civil Action No. 01-CV-1265.

Clerk of the Court

United States District Court
Western District of Oklahoma
200 N.W. 4% Street

Room 1210

Oklahoma City, Oklahoma 73102

Strong, Martin & Associates, PLLC (counsel for Sparks plaintiff)
Don S. Strong

2518 First National Center

120 North Robinson

Oklahoma City, Oklahoma 73102

Evelyn Sternberg, on behalf of herself and all others similarly situated, v. Bayer Corporation and
Bayer, A.G., United States District Court for the Eastern District of New York (Brooklyn), assigned

to Judge John Gleeson, Civil Action No. 01-CV-5557.

Clerk of the Court

United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Kaplan Fox & Kilsheimer LLP (counsel for Sternberg plaintiff)
Frederick S. Fox

805 Third Avenue

22™ Floor

New York, NY 10022

Bayer, A.G.
100 Bayer Road
Pittsburgh, Pennsylvania 15205

Michael Berman

 

 
x,

ORIGINAL

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

In re Baycol Products Liability Litigation: MDL Docket Number:

 

MEMORANDUM IN SUPPORT OF TRANSFER
AND COORDINATION AND/OR CONSOLIDATION IN THE
WESTERN DISTRICT OF PENNSYLVANIA UNDER 28 U.S.C. § 1407

Plaintiff/Petitioner Diane Rosenthal ("Plaintiff"), on behalf ofherself and all others similarly
situated in a class action captioned Diane Rosenthal v. Bayer Corporation, A Division of Bayer AG,
C.A. No. 01-CV-1574 (W.D. Pa. 2001) (the "Rosenthal Action"), pending before the Honorable
Donald J. Lee in the United States District Court for the Western District of Pennsylvania,
respectfully moves the Judicial Panel on Multidistrict Litigation (the "Panel") for an Order pursuant
to 28 U.S.C. § 1407 and the Rules of Procedure of the Panel transferring virtually identical class
actions pending in different judicial districts against the same defendant, Bayer Corporation ("Bayer"
or "Defendant"), and all related Baycol! drug cases that are filed in or removed to the federal courts,
to the Western District of Pennsylvania for coordinated and/or consolidated pretrial proceedings.
I. INTRODUCTION

This litigation is a proposed class action brought on behalf of a nationwide class of all

persons who have taken the statin drug Baycol (cerivastatin). This action seeks, among other relief,

 

'Baycol, which was initially approved for sale in the United States in 1997, is a member
of a class of cholesterol-lowering drugs that are commonly referred to as “statins.” Statins lower
cholesterol levels by blocking a specific enzyme in the body that is involved in the synthesis of
cholesterol.

 
monetary damages and the establishment of a medical monitoring program on behalf of all proposed
class members to ensure prompt diagnosis and treatment for individuals exposed to the potentially
life-threatening side effects and diseases caused by the product Baycol.

Defendant Bayer, itself or by the use of others, did manufacture, create, design, test, label,
sterilize, package, distribute, supply, market, sell, advertise, and otherwise distribute in interstate
commerce the product Baycol. More than 700,000 individuals residing in the United States have
taken Baycol, many in combination with gemfibrozil (Lopid and generics), another lipid-lowering
drug.

On or about October 25, 1999, the United States Food and Drug Administration (“FDA”),
Division of Drug Marketing, Advertising, and Communications (“DDMAC”) wrote to Bayer as
follows:

As part of its routine monitoring program, the [DDMAC] has become aware

of promotional material for Baycol (cerivastatin sodium) that is false, lacking

in fair balance, or otherwise misleading... . The dissemination of this
material by Bayer Corporation (Bayer) and/or their agents, violates the
Federal Food, Drug. and Cosmetic Act and its implementing regulations.

The FDA’s concern over the risks associated with Baycol proved to be well-founded, as the FDA

has received reports of at least 31 deaths of individuals residing in the United States due to severe

rhabdomyolysis associated with the use of Baycol.

The rising tide of concern over the potential dangers associated with Baycol culminated in
Bayer’s shocking August 8, 2001 withdrawal of Baycol from the worldwide market. These
announcements, and the dramatic voluntary withdrawal of Baycol, have caused widespread
confusion. Immediate, informative warnings to the users and former users of Baycol, accompanied

by a comprehensive medical monitoring program, administered under court supervision and at

 
Defendant’s expense, will prevent future disease and death, calm the public concern, and control and
ameliorate existing disease. Here, prompt coordination and judicial action under the federal courts’
broad equitable powers may be invoked to inform, warn, and prevent injury and death, and provide
monitoring and treatment for those at risk and those already injured. This, in turn, will reduce the
number of personal injury and wrongful death lawsuits that will be filed in the future.

There are currently at least two other class actions against Bayer, Steven Sparks, on behalf
of himself and all others similarly situated, v. Bayer Corporation, Docket No. 01-CV-1265 (W.D.
Ok. 2001) (the “Sparks Action”) and Evelyn Sternberg v. Bayer Corporation and Bayer A.G.,
Docket No. 01-CV-5557 (E.D.N.Y.) (the “Sternberg Action”), which are pending in different judicial

districts and based on allegations virtually identical to those alleged in the Rosenthal Action

(collectively, the “Related Class Actions”).? Unequivocally, the Related Class Actions share

common questions of fact and law and thus should be transferred to the Western District of
Pennsylvania for coordinated and/or consolidated pretrial discovery.”
Il. COMMON FACTUAL AND LEGAL ISSUES EXIST

The Related Class Actions arise from the identical course of conduct concerning Baycol by
the same defendant, Bayer. The legal and factual issues raised by the Related Class Actions are
virtually identical, as the complaints therein each assert claims on behalf of the proposed class of all

persons or entities who purchased or otherwise used Baycol. See Exs. A-C, attached to Plaintiff's

 

2The allegations in the Related Class Actions are virtually identical; namely, that the drug
Baycol sold and distributed by Defendant has caused and will cause death and life-threatening
disease. See Exs. A-C, attached to Plaintiff's accompanying Motion.

Furthermore, an “explosion” of litigation based on Defendant’s sale and distribution of
Baycol is expected.

 
accompanying Motion.

The core factual allegations underlying the Related Class Actions are that: (a) Baycol was
defective due to inadequate post-marketing warning or instruction because, even after Bayer knew
or should have known of the risk of rhabdomyolysis and/or other injury resulting from the use of
Baycol, Bayer failed to provide adequate warnings to users or consumers of Baycol and continued
to aggressively promote Baycol; (b) Baycol was defective in design or formulation in that, the
foreseeable risks exceeded the benefits associated with the design or formulation of Baycol and/or
it was unreasonably dangerous; and (c) Bayer failed to exercise ordinary care in the manufacture,
sale, testing, quality assurance, quality control, and/or distribution of Baycol into interstate
commerce in that Bayer knew or should have known that Baycol created a high risk of unreasonable,
dangerous side effects, including, but not limited to, rhabdomyolysis. See Exs. A-C, hereto.

Thus, the Related Class Actions raise common questions of law and fact, including, but not
limited to:

Whether Baycol causes injury, either alone or in combination with
gemfibrozil;

Whether Baycol is a dangerously defective product;

Whether Bayer is strictly liable for sales and distribution of a dangerously
defective product;

Whether Bayer negligently designed, manufactured, warned about, promoted,
advertised, marketed, and/or distributed Baycol;

Whether Bayer conducted appropriate testing of Baycol; and

Whether the serious side effects, injuries and damages from the use of Baycol

 
support the need for medical monitoring of persons who have used the drug.’

As shown in detail below, given the compelling similarity between the Related Class Actions
and the fact that the Rosenthal Action is pending -- and Defendant Bayer’s United States
headquarters, the witnesses, and documents are located -- in the Western District of Pennsylvania,
transfer to the Western District of Pennsylvania and coordination and/or consolidation under 28
U.S.C. § 1407 is in the best interest of the litigants as well as the federal judicial system, which can
expect a host of new cases concerning Baycol following Bayer’s voluntary withdrawal of Baycol
from the worldwide market on August 8, 2001.

Ill. TRANSFER TO THE WESTERN DISTRICT OF PENNSYLVANIA FOR
COORDINATED AND/OR CONSOLIDATED PRETRIAL PROCEEDINGS WILL
PROMOTE § 1407'S GOAL OF INSURING THE JUST AND EFFICIENT
CONDUCT OF THE ACTIONS, AND AVOIDING INCONSISTENT OR
CONFLICTING SUBSTANTIVE AND PROCEDURAL DETERMINATIONS.

A. Transfer and Coordination and/or Consolidation of the
Related Class Actions Will Advance § 1407's Purpose.

The purpose of 28 U.S.C. § 1407 (“Section 1407") is to provide centralized management,
under a single court’s supervision, of pretrial litigation proceedings arising in different districts to
ensure the just, efficient, and consistent conduct and adjudication of such actions. In re New York
City Mun. Sec. Litig., 572 F.2d 49, 50 (2d Cir. 1978).

The transfer ofactions and coordination and/or consolidation to a single forum under Section
1407 is appropriate where, as here, it will prevent duplication of discovery and, most importantly in

the instant case, it will eliminate the possibility of overlapping or inconsistent pleading and class

 

‘The Sparks Action sets forth generally its allegations of damages and the relief sought
therein.

 
action determinations by courts of coordinate jurisdiction. In re LTV Corp. Sec. Litig., 470 F. Supp.
859, 862 (J.P.MLL. 1979); Inre Litig. Arising from Termination of Retirement Plan for Employees
of Fireman’s Fund Ins. Co., 422 F. Supp. 287, 290 (J.P.M.L. 1976); Inre Agent Orange Prod. Liab.
Litig., 597 F. Supp. 740, 752 (E.D.N.Y. 1984), aff, 818 F.2d 145 (2d Cir. 1987), cert. denied, 484
U.S. 1004 (1988); In re Exterior Siding and Aluminum Coil Litig., 538 F. Supp. 45, 47 (D. Minn.
1982).°

The litmus test of transferability and coordination under Section 1407 is the presence of

common questions of fact. Inre Fed. Election Campaign Act Litig., 511 F. Supp. 821, 823 (J.P.M.L.

1979). In the instant litigation, its clear that the Related Class Actions and all other actions arising
from Bayer’s sale and distribution of Baycol will raise common questions of fact concerning, among
other things, Baycol’s characteristic risks and harm, the adequacy of Defendant’s warnings, and the
conduct of Defendant prior to and subsequent to its worldwide recall of Baycol. Consequently, proof

of the Plaintiff’s cases in each of the Related Class Actions will certainly involve similar — if not

 

The Panel has articulated the following criteria for transfer under Section 1407:

1. Transfer best serves the convenience of the parties and witnesses and
promotes the just and efficient conduct of the litigation;

Analysis of the effective complaints reveals that they share common
factual questions concerning intricate events and methods of operation,
which are sufficiently complex to warrant transfer; and

Placement of the affected actions under the control of a single judge
ensures that duplicative discovery of complex factual questions is
prevented, and the possibility of conflicting pretrial rulings is eliminated.

See In re Gen. Tire & Rubber Co. Sec. Litig., 429 F. Supp. 1032, 1034 (J.P.M.L. 1977).

6

 
identical — factual issues.°

Further, in the instant case, transfer and coordination and/or consolidation is particularly

appropriate because discovery has not yet begun in any of the Related Class Actions’ and the courts

have not ruled on the common factual or legal issues involved. Thus, transfer and coordination will:
effectuate an obvious savings of time and resources for the parties and the judicial system; avoid a
substantial risk of inconsistent pretrial rulings on discovery and other issues; and not delay the

proceedings.

Moreover, the Related Class Actions before the Panel both seek certification of virtually
identical classes, thus raising the prospect of overlapping or inconsistent class determinations. The
Panel has consistently held that when the risk of overlapping or inconsistent class determinations
exists, transfer of actions to a single district for coordinated and/or consolidated pretrial proceedings
is necessary in order to eliminate the possibility of inconsistent class rulings. See, e.g, In re Bristol
Bay Salmon, Alaska, Fishery Antitrust Litig., 424 F. Supp. 504, 506 (J.P.M.L. 1976); In re Litig.
Arising from Termination, supra, 422 F. Supp. at 290; In re Nat’l Airlines, Inc., 399 F. Supp. 1405,
1407 (J.P.M.L. 1974).° As such, in the instant case, transfer and coordination and/or consolidation

will eliminate a substantial risk of inconsistent class determination.

 

6This is especially true because Defendant Bayer is the only defendant in each of the
Related Class Actions.

7Discovery conducted in the Related Class Actions will be substantially the same because
the defendant in both actions is Bayer, virtually all of the charging allegations are identical, and
most witnesses are expected to be the same in both actions.

®Transfer and consolidation is proper even where two actions are involved. In re First
Nat?! Bank, Sec. Litig., 451 F. Supp. 995 (J.P.M.L 1978).

7

 
Accordingly, at this early juncture, the transfer and coordination and/or consolidation of the
Related Class Actions to the same judge will "surely [be] the most efficient way to resolve the
questions of proper class representation and the effect of each of these actions on the other." In re
Litig. Arising from Termination, supra, 422 F. Supp. at 290.

B. Transfer to the Western District of Pennsylvania Is Proper Because

the Rosenthal Action Is Pending -- and Defendant Bayer’s
Headquarters, the Witnesses, and the Documents Are Located -- in
in the Western District of Pennsylvania.

The Panel has used various criteria to determine the most appropriate forum for transfer and
coordination and/or consolidation. Among the factors the Panel considers are: the location of the
parties, witnesses and documents; the convenience of the parties and witnesses; the relative progress
which has been achieved in actions pending in various districts; and the expertise of a particular
court in the areas of law and procedures which govern the actions. In re New Mexico Natural Gas
Antitrust Litig., 482 F. Supp. 333, 337 (J.P.M.L. 1979). As will be shown below, in the instant case,
it is clear that the Western District of Pennsylvania is the most appropriate forum for transfer and
coordination and/or consolidation.

1. Location of Parties and Witnesses and Documents

In the instant case, the Western District of Pennsylvania is clearly the appropriate transferee

forum because: (i) the Rosenthal Action is currently pending in the Western District of Pennsylvania,

and (ii) Defendant Bayer’s United States headquarters, the witnesses, and the majority of the

documents which bear on the Related Class Actions are located in Pittsburgh in the Western District

 
of Pennsylvania.’ Consequently, Defendant Bayer and most, if not all, of the witnesses, documents
and other evidence which bear on the Related Class Actions are already located, or will be located,
in the Western District of Pennsylvania.

Accordingly, it is obvious that transfer to the Western District of Pennsylvania for
coordinated and/or consolidated pretrial discovery is convenient and in the best interest of the
parties, the witnesses and the judicial system. Such transfer will avoid duplication of effort, the
unnecessary expenditure of time and money in concurrent litigations involving common legal and
factual issues, and the possibility of inconsistent rulings on many pretrial issues, such as class
determination.

2. Advancement of Proceedings

The Related Actions were both filed less than two weeks ago and are at the initial stage of
litigation.'° At this early stage, no preliminary orders have been entered; no discovery or initial
disclosures have been made; no motions have been submitted; and no substantive rulings on motions
to dismiss, motions for summary judgment, class certification or other pretrial matters have been
entered. Accordingly, transfer and coordination and/or consolidation to the Western District of
Pennsylvania will significantly advance the proceedings by avoiding the duplication of discovery and

allowing the common questions of fact and law to proceed before one Court.

 

*Bayer’s headquarters and principal place of business is located at 100 Bayer Road,
Pittsburgh, Pennsylvania 15205.

\°The Rosenthal Action was filed on August 16, 2001 in the Western District of
Pennsylvania and was assigned to Judge Donald J. Lee; the Sparks Action was filed on August
10, 2001 in the Western District of Oklahoma and was assigned to Judge Ralph G. Thompson;
the Sternberg Action was filed on August 16, 2001 in the Eastern District of New York and was
assigned to Judge John Gleeson.

 
The Experience and Expertise in Managing Complex Litigation of Judge
Lee and the Court

The Panel has considered the experience and knowledge of transferee judges in its
decision to transfer. In re Factor VIII or Factor IX Concentrate Blood Products Prod. Liab. Litig.,
853 F. Supp. 454, 455 (J.P.M_L. 1993); In re Silicone Gel Breast Implants Prod. Liab. Litig., 793
F. Supp. 1098 (J.P.M.L. 1992). The Rosenthal Action pending in the Western District of
Pennsylvania is before experienced Judge Donald J. Lee, who has handled multiple complex
securities class action litigations. See, e.g., In re Chambers Development Securities Litigation,
848 F. Supp. 602 (W.D. Pa. 1994) and 912 F. Supp. 822 (W.D. Pa. 1995) (MDL Docket No.

982) (“Chambers”); Option Resource Group v. Holtz, et al., 967 F. Supp. 846 (W.D. Pa. 1996).

In addition, Judge Lee has a demonstrated ability in facilitating the settlement of large
class action litigations. For example, in Chambers, Judge Lee presided over the settlement of the

case in which defendant agreed to pay $95 million in cash, plus interest to the class. 912 F.

Supp. 822 at 828-840. Finally, the Western District of Pennsylvania has vast experience with

regard to complex multiparty litigation. See, e.g., In re Flat Glass Antitrust Litig. 191 F.R.D.
472, MDL No. 1200, (W.D. Pa. 1999); In re Crown American Realty Trust Sec. Litig., 1998 U.S.
Dist. LEXIS 17503 (W.D. Pa. 1998); Chambers, 912 F. Supp. at 822.
IV CONCLUSION

For the foregoing reasons, and for those stated in the accompanying Motion, Plaintiff
respectfully requests that the instant Rosenthal Action, the Sparks Action, and the Sternberg
Action be transferred and coordinated and/or consolidated for pretrial proceedings in the Western

District of Pennsylvania, and that all related Baycol drug cases that are filed in or removed to the

 
federal courts be transferred thereto as "tag along actions."

DATED: August 2€ , 2001

Respectfully Submitted,

SCHIFFRIN & BARROWAY, LLP

Andrew L. Barroway, Esq. 7
Marc A. Topaz, Esq.

Three Bala Plaza East

Suite 400

Bala Cynwyd, Pennsylvania 19004
(610) 667-7706

LAW OFFICE OF ALFRED G. YATES JR.
Alfred G. Yates Jr., Esq.

Gerald L. Rutledge, Esq.

519 Allegheny Building

429 Forbes Avenue

Pittsburgh, Pennsylvania 15219

(412) 391-5164

CAULEY GELLER BOWMAN & COATES
Paul J. Geller, Esq.

2225 Glades Road

Suite 421A

Boca Raton, Florida 33431

(561) 750-3000

LAW OFFICES OF BRIAN FELGOISE
Brian Felgoise, Esq.

230 South Broad Street

Philadelphia, Pennsylvania 19102

Counsel for Plaintiff/Petitioner

 
JUD
MULTID

 
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT PENNSYLVANIA

 

DIANE ROSENTHAL, on behalf of herself - Civil Action No.: /
and all others similarly situated, : oe

Plaintiff,

Vv. - CLASS ACTION COMPLAINT
- FOR INJUNCTIVE RELIEF AND
BAYER CORPORATION, A Division of : DAMAGES
BAYER AG, :

Defendant. JURY TRIAL DEMANDED

“

 

“

Plaintiff, by and through her attorneys, alleges as follows:

SUMMARY OF CLAIMS

1. This js a class action brought on behalf of a nationwide class of all persons who

have taken the statin drug Baycol (cerivastatin). This action seeks, among other relief, the
establishment of a medical monitoring program on behalf of all class members to ensure prompt
diagnosis and treatment for individuals exposed to the potentially life-threatening side effects and
diseases caused by Baycol.
PARTIES

2. Plaintiff Diane Rosenthal is a resident of, and citizen of Palm Beach County,
Florida. Plaintiff has been damaged as a result of her Baycol use, and she has suffered an
increased susceptibility to injury and disease, including, but not limited to, rhabdomyolysis.

3. Defendant Bayer Corporation (“Bayer”) is a wholly owned subsidiary of Bayer
AG, a corporation organized and existing under the laws of Germany. Bayer’s principal place of
business in the United States is located at 100 Bayer Road, Pittsburgh, PA 15205. Upon

information and belief, at all times relevant hereto Bayer manufactured, promoted, marketed,

 
*

distributed, developed, and sold Baycol in this District and in interstate commerce.

JURISDICTION AND VENUE

4. Plaintiff alleges an amount in controversy sn excess of $75,000 exclusive of

s, as to herself and each member of the class.

pursuant to 28 U.S.C. § 1332 because

interest and cost

5. This Court has jurisdiction over this action
the amount in controversy exceeds $75,000 as to plaintiff and each member of the class and there

sity of citizenship between the named plaintiff and defendant Bayer.

0 28 U.S.C. § 1391(a)(1) because Bayer

“«

is complete diver,
6. Venue is proper in this Court pursuant t

conducts business in this District and the contacts of Bayer with this District are sufficient to

subject Bayer to personal jurisdiction herein.

FACTUAL ALLEGATIONS

7. At all times relevant hereto, Bayer, itself or by the use of others, did manufacture,

create, design, test, label, sterilize, package, distribute, supply, market, sell, advertise, warn, and

otherwise distribute in interstate commerce the product Baycol (cerivastatin).

8. Baycol, which was initially approved for sale in the United States in 1997, is a

member of a class of cholesterol-lowering drugs that are commonly referred to as “statins.”

in the body that is involved in the

Statins lower cholesterol levels by blocking a specific enzyme

synthesis of cholesterol.

9. More than 700,000 Americans have taken Baycol, many in combination with

gemfibrozil (Lopid and generics), another lipid-lowering drug.
10.  Rhabdomyolysis is a condition that results in muscle cell breakdown and release

of the contents of muscle cells into the bloodstream. Symptoms of rhabdomyolysis include

muscle pain, weakness, tenderness, malaise, fever, dark urine, nausea and vomiting. The pain

2

 
<

may involve specific groups of muscles or may be generalized throughout the body. Most

frequently the involved muscle groups are the calves and lower back; however, some patients
report no symptoms of muscle injury. In some cases the imuscle injury is so severe that patients
develop renal failure and other organ failure, which can be fatal.

11. Cases of fatal rhabdomyolysis in association with the use of Baycol have been
reported significantly more frequently than for other approved statins. The United States Food
and Drug Administration (“FDA”) has received reports of 31 U.S. deaths due to severe

rhabdomyolysis associated with the use of Baycol, 12 of which involved concomitant

“

gemfibrozil use.

12.  Onor about October 25, 1999, the FDA Division of Drug Marketing, Advertising,
and Communications (“DDMAC”) wrote to Bayer as follows:

As part of its routine monitoring program, the [DDMAC] has become aware of
promotional material for Baycol (cerivastatin sodium) that is false, lacking in fair
balance, or otherwise misleading. Reference is made to a Sales Aid (QO 1068),
submitted under cover of Form FDA 2253. The dissemination of this material by Bayer
Corporation (Bayer) and/or their agents, violates the Federal Food, Drug, and Cosmetic
Act and its implementing regulations. DDMAC requests that the use of the above
referenced material and those containing the same or similar violations cease
immediately. Specifically, DDMAC has the following objections:

Lack of Fair Balance

The presentation of risk information in this promotional piece lacks fair balance.
Promotional materials may be lacking in fair balance, or otherwise misleading if they fail
to present information relating to side effects and contraindications with a prominence
and readability reasonably comparable to the presentation of efficacy information. In the
Sales Aid, Bayer uses several pages, various color patterns, charts, graphs, and the like, to
provide emphasis for efficacy information. However, the page seemingly devoted to the
presentation of risk information titled, “Baycol offers a proven record of safety” contains
mostly additional benefit (safety) claims for Baycol and very little risk information. In
fact, Bayer presents the most important risk information (risk of myopathy,
rhabdomyolysis, etc.) with much less emphasis, in the middle of the Sales Aid.

3

 
Bayer should immediately cease this, and all other promotional materials for Baycol that
contain the same or similar violations. ... ,

(Emphasis added).

13. The concerns that the FDA raised in October of 1999 with respect to the risks
associated with Baycol proved to be well-founded. On August 8, 2001, Bayer announced that it
was voluntarily withdrawing Baycol from the market worldwide. In conjunction therewith,
Bayer issued the following warning to healthcare professionals:

Rhabdomyolysis is a serious, potentially fatal, adverse effect of all statin drugs, including
Baycol. It can occur with statin monotherapy, though the risk“appears to be increased
significantly by concomitant use of gemfibrozil (Lopid). *

Our ongoing scrutiny of post-marketing reports of rhabdomyolysis, including fatalities,
has revealed an increased reporting rate of rhabdomyolysis with Baycol relative to other
statins, especially when gemfibrozil is co-prescribed. These data also suggest an
increased reporting rate of rhabdomyolysis at the 0.8 mg dose of Baycol alone.

Bayer Corporation has already placed a contraindication in the Baycol product
prescribing information sheet against co-prescription with gemfibrozil and issued letters
to healthcare professionals warning against co-prescription of these two drugs. Despite
these and other actions, Bayer has continued to receive reports of rhabdomyolysis when
gemfibrozil is prescribed as a co-medication. Since the co-prescription of Baycol and

- gemfibrozil has continued despite communications by Bayer against this practice, the
company has decided to take the following voluntary action to prevent further cases of
rhabdomyolysis:

Effective immediately, Bayer has discontinued the marketing and distribution of all
dosage strengths of Baycol. Patients who are currently taking Baycol should have
their Baycol discontinued and be switched to an alternative therapy.

Bayer is taking this action as part of an ongoing commitment to patients and their
healthcare providers to ensure patient safety.

(Emphasis original).

14. On August 8, 2001, Bayer issued the following statement to the press:

* Starting in 1999, Bayer and the FDA have had a shared, ongoing concern over the
practice of co-prescribing statins, including Baycol, with gemfibrozil to achieve more
aggressive effects on lipid levels.

 
* Relative to other statins, the reporting rate of rhabdomyolysis with Baycol appears to
be more pronounced when gemfibrozil is co-prescribed and also with high-dose therapy
alone, especially when not used as directed. Rhabdomyolysis is a rare condition
characterized by generalized muscle weakness.

* Recently, Bayer concluded that labeling agreed upon with the FDA, as well as
communication campaigns conducted by the company during the past two years, have not
been effective enough to prevent rhabdomyolysis through the reduction of co-prescribing.

* During recent discussions with the FDA, Bayer proposed the following actions:
— Suspend marketing and distribution of Baycol
— Conduct voluntary market withdrawal

« Naturally, we are disappointed to be removing Baycol from the market.

» Nonetheless, we believe this is the responsible course of action for patients and we
remain committed to providing innovative and vital therapies to fight cardiovascular
disease.

* We realize that this decision will affect many patients on Baycol therapy and we regret
the difficulties resulting from this course of action. .

15. OnAugust 9, 2001, The Los Angeles Times reported:

Baycol, one of a family of popular cholesterol-lowering drugs, was pulled from the U.S.
market by its manufacturer Wednesday because of reports linking the pill to 31 deaths.

According to the manufacturer, Bayer Corp., all of the deaths involved rhabdomyolysis, a
painful disorder that destroys muscle tissue. The “vast majority” of those who died had
developed kidney failure, a company executive said. .

Dr. Beatrice Alexandra Golomb, a UC San Diego specialist who is conducting a five-year
study of two other statin drugs under a grant from the National Institutes of Health, said
awareness of rhabdomyolysis is low among both physicians and patients.

“The issue of rhabdomyolysis obviously requires concern because people die from it,”
Golomb said. “Awareness needs to be enhanced.... They’re wonderful drugs — in the
right people.”

FDA records show that when he recommended approval of Baycol on May 29, 1997, an
agency medical officer, Dr. David G. Orloff, cited rhabdomyolysis as one of four
“potentially serious adverse effects” that concerned him. However, no instances of

5

 
rhabdomyolysis were reported in Bayer’s original clinical studies of the drug among
3,343 patients in the U.S., Japan and China.

According to Dr. Paul MacCarthy, Bayer’s vice president of U.S. medical science, the
company voluntarily approached the FDA in December 1999 with a proposal to warn
against prescribing Baycol in combination with Lopid, a drug that lowers a fatty
substance in the blood, because of reports of thabdomyolysis. Bayer informed doctors
and other health care providers of the safety-labeling change in a mass-mailed letter.

In an interview from company offices in West Haven, Conn., MacCarthy said that Bayer
again approached the FDA in April of this year after fatal cases of rhabdomyolysis
persisted. The labeling was changed, effective in June, to warn doctors not to place
patients on the maximum dose of 0.8 milligram without first trying lower doses. An
accompanying letter to health care providers warned anew against prescribing the drug
with Lopid. "

“a

«

The withdrawal announced Wednesday came just two months after the latest safety-
labeling change. MacCarthy said the company found that, despite the explicit warnings,
doctors had continued to prescribe Baycol with Lopid and to start patients at the
maximum dose.

“Since this involved fatalities, we determined that this [the withdrawal] is the appropriate
thing to do in the interest of patient safety,” MacCarthy said, adding that Bayer was
“likely to close” ongoing clinical studies of Baycol, including experiments assessing the
drug’s effect on bone density and stroke prevention. The company is withdrawing the
drug worldwide except for Japan, where neither the 0.8-milligram dose nor the other
drug, Lopid, is used.

But the danger is not limited to the combined use of Baycol and Lopid. Nineteen of the
31 U.S. deaths cited by the FDA involved the use of Baycol without Lopid. And because —
side effects from prescription drugs are reported voluntarily in the U.S., epidemiologists
believe the incidence of harm is consistently underreported.
CLASS ACTION ALLEGATIONS
16. Plaintiff brings this action as a class action for equitable, injunctive and other
relief pursuant to Federal Rules of Civil Procedure 23(b)(1) and (b)(2) on behalf of a class

consisting of all persons in the United States or United States Territories who have suffered

injury or may suffer injury as a result of using Baycol designed, manufactured, supplied,

distributed, sold, and/or placed in interstate commerce by Bayer.

 
17. Plaintiff is a member of the class she seeks to represent. Upon information and
belief, plaintiff estimates that there are hundreds of thousands of individuals in the class, making
joinder impracticable.

18. There are questions of law and fact common to the class, including, but not
limited to:

Whether Baycol causes injury, either alone or in combination with
gemfibrozil;

Whether Baycol is a dangerously defective product; »

Whether Bayer is strictly liable for sales and distribution of a dangerously
defective product;

Whether Bayer negligently designed, manufactured, warned about,
promoted, advertised, marketed, and/or distributed Baycol;

Whether Bayer conducted appropriate testing of Baycol; and
Whether the serious side effects, injuries and damages from the use of
' Baycol support the need for medical monitoring of persons who have used
the drug.
19. The named plaintiff asserts claims that are typical of the class because she used
Baycol and has incurred or may incur injury and damages as a result thereof.
20. The named plaintiff will adequately represent the interests of the members of the
class and has retained counsel competent and experienced in complex class actions.
21. Notice can be provided to the class by a combination of published notice and first
class mail using techniques and forms of notice similar to those customarily used in drug-related
product liability class actions.

22. Plaintiff seeks, inter alia, injunctive relief in the form ofa court-ordered and

supervised medical monitoring pro gram, funded by Bayer, to assist plaintiff and the class

 
members in the detection and treatment of injuries caused by Baycol.

93. Class certification is appropriate pursuant to Fed.R.Civ.P. 23(b)(2) because Bayer
has acted, or refused to act, on grounds generally applicable to the class, making appropriate the
injunctive relief sought herein.

24. Class certification is also appropriate pursuant to Fed.R.Civ.P. 23(b)(1) because,
inter alia, the prosecution of separate actions by individual members of the class would create a
risk of incompatible standards of conduct and inconsistent or varying adjudications.

FIRST CLAIM FOR RELIEF .
STRICT PRODUCT LIABILITY ~
(FAILURE TO WARN)

25. Plaintiff incorporates by reference all other paragraphs of this complaint as if set
forth fully herein.

26. Bayer is the manufacturer and/or supplier of Baycol.

27. The Baycol manufactured and/or supplied by Bayer was and is unaccompanied by
proper warnings regarding injuries associated with the use of Baycol, including, but not limited

to, rhabdomyolysis, and the severity and duration of such injuries. The warnings provided by

Bayer did not accurately reflect the symptoms, scope or severity of such injuries.

28. The Baycol manufactured and/or supplied by Bayer was defective due to

inadequate post-marketing warning or instruction because after Bayer knew or should have
known of the risk of rhabdomyolysis and/or other injury from the use of Baycol, Bayer failed to
provide adequate warnings to users or consumers of Baycol and continued to aggressively
promote Baycol.

29. As the producing cause and legal result of the defective condition of Baycol as
manufactured and/or supplied by Bayer, plaintiff and the members of the class require reasonable

8

 
and necessary health care, attention and services and did and will incur medical, health,
incidental and related expenses. Plaintiff is informed and believes and thereon alleges that
plaintiff may in the future be required to obtain medical and/or hospital care, attention, and
services in an amount which is presently unknown.

SECOND CLAIM FOR RELIEF
STRICT PRODUCT LIABILITY

(DEFECTIVE DESIGN)

30. Plaintiff incorporates by reference all other paragraphs of this complaint as if set

forth fully herein. °

~
a

31. Bayer is the manufacturer and/or supplier of Baycol.

32. The Baycol manufactured and/or supplied by Bayer was defective in design or
formulation in that, when it left the hands of Bayer, the foreseeable risks exceeded the benefits
associated with the design or formulation of Baycol.

33, Alternatively, the Baycol manufactured and/or supplied by Bayer was defective in
design or formulation in that, when it left the hands of Bayer, it was unreasonably dangerous,
more dangerous than an ordinary consumer would expect, and more dangerous than other similar
statin drugs.

34. Bayer failed to perform adequate testing of Baycol in that adequate testing would
have shown that Baycol, alone or in combination with gemfibrozil, caused serious injuries,

including, but not limited to, thabdomyolysis.

35. As the producing cause and legal result of the defective condition of Baycol as

manufactured and/or supplied by Bayer, plaintiff and the members of the class require reasonable
and necessary health care, attention and services and did and will incur medical, health,

incidental and related expenses. Plaintiff is informed and believes and thereon alleges that

9

 
plaintiff may in the future be required to obtain medical and/or hospital care, attention, and
services in an amount which is presently unknown.

THIRD CLAIM FOR RELIEF
NEGLIGENCE

36. Plaintiff incorporates by reference all other paragraphs of this complaint as if set
forth fully hereim.

37. Bayer had a duty to exercise reasonable care in the manufacture, sale, and/or
distribution of Baycol into the stream of interstate commerce, including a duty to ensure that
Baycol did not cause users to suffer from unreasonable, dangerous side effects.

38. Bayer failed to exercise ordinary care in the manufacture, sale, testing, quality
assurance, quality control, and/or distribution of Baycol into interstate commerce in that Bayer
knew or should have known that Baycol created a high risk of unreasonable, dangerous side
effects, including, but not limited to, rhabdomyolysis.

39, Bayer was negligent in the design, manufacture, testing, advertising, warning
about, marketing, sale, and/or distribution of Baycol in that Bayer failed to: (i) use due care in

designing and manufacturing Baycol so as to avoid the aforementioned risks to class members

who used Baycol; (11) accompany Baycol with proper warnings regarding all possible adverse

side effects associated with the use of Baycol and the severity and duration of such adverse
effects; (iii) conduct adequate pre-clinical and clinical testing and post-marketing oversight to
determine the safety. of Baycol; (iv) provide adequate training and instruction to medical care
providers for appropriate use of Baycol, alone or in combination with gemfibrozil; (v) warn,
prior to actively encouraging the sale of Baycol, regarding the possibility of developing serious

and potentially fatal side effects, including, but not limited to, rhabdomyolysis, and the need for

10

 
comprehensive, regular medical monitoring to ensure early discovery of such conditions, (vi)
adequately test and/or warn about the interaction of Baycol with gemfibrozil and the possible
adverse side effects caused by such interaction, including, but not limited to, rhabdomyolysis;
and (vii) otherwise use due care in designing, manufacturing, testing, warning about, advertising,
marketing, and/or distributing Baycol.

40, Bayer knew or should have known that consumers such as plaintiff and the
members of the class would foreseeably suffer injury as a result of Bayer’s failure to exercise due

care as described above. “

~«

41. Due to Bayer’s negligence, plaintiff and the members of the class require
reasonable and necessary health care, attention and services and did and will incur medical,
health, incidental and related expenses. Plaintiff is informed and believes and thereon alleges
that plaintiff may in the future be required to obtain medical and/or hospital care, attention, and
services in an amount which is presently unknown.

FOURTH CLAIM FOR RELIEF
BREACH OF EXPRESS WARRANTY

42. Plaintiff incorporates by reference all other paragraphs of this complaint as if set

forth fully herein.

43. Bayer expressly warranted that Baycol was safe for use by patients.

44, Baycol does not conform to Bayer’s express representations because Baycol.is not
safe and has unreasonably high levels of serious side effects, including life-threatening
rhabdomyolysis.

45.  Asadirect and proximate result of the breach of the aforementioned warranties,

plaintiff and the members of the class require reasonable and necessary health care, attention and

11

 
services and did and will incur medical, health, incidental and related expenses. Plaintiff is
informed and believes and thereon alleges that plaintiff may in the future be required to obtain
medical and/or hospital care, attention, and services in an amount which is presently unknown.

FIFTH CLAIM FOR RELIEF
BREACH OF IMPLIED WARRANTY

46. Plaintiff incorporates by reference all other paragraphs of this complaint as if set

forth fully herein.

47. At the time Bayer marketed, sold, and distributed Baycol, Bayer knew of the use
for which Baycol was intended and impliedly warranted the product ibe of merchantable
quality and safe and fit for such use.

48. ~ Plaintiff and members of the class and their physicians reasonably relied upon the
skill and judgment of Bayer as to whether Baycol was of merchantable quality and safe and fit
for its intended use.

49. Contrary to such implied warranty, Baycol was not of merchantable quality or
safe or fit for its intended use because Baycol was and is unreasonably dangerous and unfit for

the ordinary purposes for which it was used.

50. Asa direct and proximate result of the breach of implied warranty, plaintiff and

the members of the class require reasonable and necessary health care, attention and services and

did and will incur medical, health, incidental and related expenses. Plaintiff is informed and
believes and thereon alleges that plaintiff may in the future be required to obtain medical and/or

hospital care, attention, and services in an amount which is presently unknown.

 
SIXTH CLAIM FOR RELIEF
MEDICAL MONITORING

51. Plaintiff incorporates by reference all other paragraphs of this complaint as if set
forth fully herein.

52. Asa direct and proximate result of Bayer’s acts and omissions as set forth herein,
plaintiff and the members of the class have been exposed to a hazardous substance and, as a
result, suffer a significantly increased risk of contracting serious injury or latent disease,
including rhabdomyolysis. This increased risk makes periodic diagnostic and medical
examinations reasonable and necessary. Easily administered, cost-effective monitoring and
testing procedures exist which make the early detection and treatment of such injuries or disease
possible and beneficial.

53. The recommended testing and monitoring procedures will be subject to expert
testimony at the time of class certification and/or trial.

54. The increased susceptibility to injuries and irreparable threat to the health of
plaintiff and the members of the class resulting from their exposure to Baycol can only be

mitigated or addressed by the creation of a comprehensive medical monitoring program that: (i)

notifies individuals who used Baycol of the potential harm from Baycol; (ii) funds further studies

of the long-term effects of Baycol use; (iii) funds research into possible cures for the detrimental

effects of Baycol use; (iv) gathers and forwards to treating physicians information related to the
diagnosis and treatment of injuries and diseases which may result from using Baycol; and (v)
aids in the early diagnosis and treatment of resulting injuries through ongoing testing and

monitoring of Baycol users.

 
55. Plaintiff and the members of the class have no adequate remedy at law in that
monetary damages alone cannot compensate for the continuing nature of the harm to them, and a
monitoring program which notifies them of possible injury and aids in their diagnosis and
treatment can prevent the greater harms which may not occur immediately and which may be
preventable if proper research is conducted and the health risks are diagnosed and treated before
they occur or worsen.

56, ° The susceptibility of plaintiff and the members of the class to rhabdomyolysis is
the sole result of their use of Baycol. Early detection and diagnosis of this disease is clinically
invaluable because it can prevent and/or significantly delay resulting pain, suffering and/or death.

57. Without a court-approved and supervised medical monitoring program, Baycol
users will not receive prompt medical care which could detect injury and disease and prolong
their productive lives, increase prospects for improvement, and minimize disability.

WHEREFORE, plaintiff prays for relief as follows:
A. Certifying this action as a class action on behalf of the proposed class and
, designating the named plaintiff as representative of the class and the named

plaintiff's counsel as class counsel;

For general damages in a sum in excess of the Jurisdictional minimum of this
Court;

Medical, incidental, hospital and service expenses according to proof,

Creating a comprehensive court-supervised medical monitoring program as
described herein;

Awarding plaintiff and the members of the class attorneys’ and experts’ fees,
costs, and expenses, .

Pre-judgment and post-judgment interest as provided by law;

Full refund of all purchase costs Plaintiff and the members of the class expended
in their purchases of Baycol;

14

 
H. Awarding such other and further relief as the Court deems just and proper.

JURY DEMAND

Plaintiff demands a trial by jury.

DATED: August 16, 2001
LAW OFFICE OF ALFRED G. YATES JR

GA$ ED soe

Alfred G. Yate Esq.

PAID #17419 «

Gerald L. Rutledge, Esq.

PA ID #62027

519 Allegheny Building

429 Forbes Avenue

Pittsburgh, Pennsylvania 15219
(412) 391-5164

SCHIFFRIN & BARROWAY, LLP
Andrew L. Barroway

Marc A. Topaz

Three Bala Plaza East

Suite 400

Bala Cynwyd, PA 19004

(610) 667-7706

Paul J. Geller, Esq.

CAULEY GELLER BOWMAN & COATES, LLP. -
2225 Glades Road

Suite 421A

Boca Raton. FL 33431

(561) 750-3000

Brian Felgoise, Esq.

THE LAW OFFICES OF BRIAN FELGOISE
230 South Broad

Street, Philadelphia, PA 19102

(215) 735-6810

Counsel for Plaintiff

 
 
FILED

AUG 1.0 2001
IN THE UNITED STATES DISTRICT COURT

OBERT 0. DENNIS, CLERK
FOR THE WESTERN DISTRICT OF ORLAB AYE COURT, WESTERN BIST. OF OKLA,

DEPUTY

 

STEVEN L, SPARKS, On Behalf of Himselfand AN)
Others Similariy Situated,

) , at
4 i eR pee ge
Plaintiff, C TV a ome fp om (" el) ma f.

)

vs. CASE NO.
BAYER CORPORATION, a foreign corporation,

Defendant.

)
)
)
/)
)
)

 

-c TIC

Steven L. Sparks, personal representative of the Estate of Lilbert O. Sparks, Jr., Deceased,
(“PlaintlP), for his roultiple causes of action against the above-named Defendant, alleges and states
the following:

PARTIES

1. Lilbert ©. Sparks, Jr., Deceased, was at the time the events referenced herein
occurred, a citizen of the State of Oklahoma.

2. Lilbert O. Sparks, Jr. died on the 24" day of January, 2001, at Presbyterian Hospital,
Oklahoma City, Oklahoma. «

3. Steven L. Sparks, a citizen of the State of Oklahoma, ‘was appointed Personal
Representative of the Estate of Lilbert O, Sparks, Jr., Deceased, on or about the ox day of March,
2001 in the District Court of Oklahoma County, Oklahoma

4, Defendant, Bayer Corporation (“Defendant”), is an Indiana corporation with, on

information and belief of Plaintifi, its principal place of business in Indiana, and is authorized to

 
4, Defendant, Bayer Corporation (“Defendant”), is an Indiana corporation with, on
information and belief of Plaintiff, its principal place of business in Indiana, and is authorized to conduct
business and is in good standing in the State of Oklahoma. Defendantis engaged in the manufacture of
certain pharmaceuticals for distribution and sale in the State of Oklahoma.

JURISDICTION AND VENUE

3. Jurisdiction in this matter is established through Title 28 of the United States Code, Section

1332. There is complete diversity of citizenship between the Plaintiff and Defendant and the amountin

controversy execeds $75 ,000.00, exclusive of interest, costs and attorney’ s fees.

6. Vonucis proper in this Court pursuant to Title 28 of the United States Code, Section 1391.

7. Plaintiff is the proper party to bring suit in this matter pursuant to 12 Okla. Stat. (2001
Supp.) §1053.

STATEMENT OF FAacTSs

8. Asapredicate to the claims herein, Defendant manufactured and di strifnted and/or offered
for sale or caused to be sold in the State of Oklahoma, a certain cerivastatin sodium medication known as
“Baycol” for the purpose of, inter alia, being used and administered by physicians and other health care
professionals to lower plasma cholesterol levels in patients. Plaintiff's Decedent was administered Baycol
for its stated purposes and subsequently died as a direct result thereof.

CLASS ALLEGATIONS

9. Plaintiff brings this action as a class action under rule 23 of the Federal Rules of Civil

Procedure on behalf of the class of all persons or entities who purchases or otherwise used Baycol between

the date this Complaint is filed and at least two (2) previous calendar years, inclusive.

2

LAR nyeolcomplnint-ca.wpd

 
10.  Themembers ofthe Class are so numerous that joinder ofall members is impracticable.
While the exact number of Class members is unknown to Plaintiff at this tinge, and can be ascertained only
through appropriate discovery, Plaintiff believes that there are hundreds of members of the Class located
throughout Oklahoma and the United States. Class members may be identified from records maintained
by Defendants and may be easily notified of the pendency of this action, using a form of notice similar to
thai customarily used in other class actions.

11. Plaintiff's claims are typical of the clainas of the other members of the Class as all snemibers

«

«

of the Class are similarly affected by Defendants’ product.

12. _ Plaintiff will fairly and adequately protect the interests of the members of the Class and has
retained counsel competent and experienced in class litigation.

13. Common questions of law and fact exist as to all members of the Class and predominate
over any questions solely affecting individual members of the Class. Among the questions of lawand fact
common to the Class are:

whether the product was properly tested prior to distribution and sale by the

Defendants;

b. whether the Defendants’ product was put through tests which proved it was

dangerous prior to distribution and sale by the Defendants; and
c. to what extent members of the Class have sustained damages asa result of using
this dangerous product and the proper measure of damages.
14.  Aclassactionis superior to all other available methods of the fair and efficient adjudication

ofthis controversy since joinder of all members is impracticable. Further, as the damages suffered by

3 [ABayeaheomplaint-ca, wpd

 
individual Class members may be relatively small, the expense and burden of individual litigation makes it
impossible for members of the Class to individually redress the wrongs done to them. There will be no
difficulty in manager of this suit as a class action.

COUNTIL
Products Liability

15.  Plaintiffrestates and realleges paragraphs 1 through 14 ofthis Complaint and in addition,
states matters as set forth below:

16.  Thesubject medication was prescribed to Plaintiff's Decedent on or about the 6" day of
December, 2000. On information and belief of Plaintiff, Plaintiffs Decedent began taking the prescribed
Baycol within 24 hours of the prescription date.

17. Defendant warranted that said medication was safe for the ordinary purposes for which said
medication was mamtfactured and sold; to wit: for use as a plasma cholesterol lowering agent,
notwithstanding that Defendant was in possession of information that said medication had caused serious
injuries and death to individuals who had taken it as prescribed.

18. Plaintiff was a person who used and was reasonably expected to use said medication.

19. The subject medication was detective at the time of its manufacture, distribution and sale,

and said medication was unreasonably dangerous to a person taking the medication pursuantto a physician

or other health care professional’s orders.

20. Additionally, Defendant failed to adequately warn physicians, other health care
professionals and consumers of the dangers of taking said medication and failed to make public complaints

and incidents involving serious iryury or death to others with respect to said medication. The injuries and

[ABayraeomplalnt-ca,wpd

 
ultimate death suttered by Plaintiff s Decedent was a direct and proximate cause of the acts of omission
uc commission on the part of Defendant.

21.  Asaresultofthe actions and conduct of Defendant, Defendant is liable to Plaintiff for the
damuyes arising from the manufacture, distribution and sate of said defective product.

22. The full extent of Plaintiff s injuries caused by said acts of Defendant exceed the sum of
$75,000.00, exclusive of interest and costs for which Plaintiff is entitled to recover, together with a
reasonable attorney’s fees.

COUNT TI.
NEGLIGENCE

23.  Plaintiffrestates and realleges paragraphs 1 through 22 of this Complaint and in addition,
states matters as set forth below:

24. Defendant owed a duty to Plaintiff's Decedent in the manufacture, distribution and/or sale

of the medication to be prescribed by healthcare professionals for the purpose for which it was intended.

25. Defendant breached said duty by negligently supervising and/or controlling the formula and
manufacturing process of said medication, and in failing to adequately warn the medical profession and the
public as to the inherent dangers of prescribing and taking said medication.

26. Moreover, Defendant failed to properly and promptly act by removing the subject Baycol
trom the market after it became known to Defendant that said medication could cause serious injury and
death.

27.  Theinjuries and death of Plaintiff’s Decedent were a direct and proximate result of the

negligent conduct of Defendant, Bayer Corporation.

I\Baycohoomplainves. wpd

 
28. Asadirect and proximate result of the negligence of Defendant, Plaintiffhas suffered
injuries and damages in excess of $75,000.00, exclusive of interest and costs, and areasonable attorney’s
fees, which Plaintiff is entitled to recover from Defendant.

COUNT TL.
PUNITIVE DAMAGES

29. — Plaintiffrestates and realleges paragraphs 1 through 28 of this Complaint and in addition,
states matters as set forth below:

30. Defendant’s conduct and actions, the awareness of the Defendant of the serious,
immediate and life-threatening hazard of said medication, and the failure by Defendant to fully disclose and
publicize the dangers of said medication, subject Defendant to exemplary damages to the fullest extent of
the law.

31. Asa direct and proximate result of the conduct of Defendant and the imminent hazard
posed to the general public as aresult thercof, Plaintiff should be awarded exemplary damages in excess
of $75,000.00 and in the maximum amount allowed by law.

COMBINED PRAYER

WHEREFORE, Plaintiff prays for judgment against the Defendant on the claims set forth above,

and that Plaintiff be awarded actual and compensatory damages exceeding $75,000.00; consequential

damages in excess of $75,000.00; exemplary damages in the maximum amounts allowed by law and in

excess of $75,000.00; actual damages for all losses sustained under the applicable law, as well as damages

for mental anguish, interest, costs and attorney fees; and for such other and further reliefas may be deemed

just and equitable by the Court.

IA\Baycolsomplaine-cu.wpd

 
— Of the Firm -—-

STRONG, MARTIN & ASSOCIATES, P.L.L.C.
2518 First National Center

120 North Robinson

Oklahoma City, Oklahoma 73102

Telephone: (405) 604.7500

Facsimile: (405) 604.7503

—and—

William B. Federman, OBA #2853
Stuart W. Emmons, OBA #12281
FEDERMAN & SHERWOOD
120 N. Robinson, Suite 2720
Oklahoma City, OK. 73102
40S-235-1560/EAX: 405-239-2112

=—and ~

2926 Maple Avenue, Suite 200
Dallas, TX 75201

214-696-1 100/FAN: 214-740-0] 12
ATTORNEYS FOR PLAINTIFF

 
FILED

AUG 1.0 2001
IN THE UNITED STATES DISTRICT COURT

OBERT D. DENNIS, CLERK
FOR THE WESTERN DISTRICT OF OKLAH QE COURT, WESTERN DIST. OF OKLA,

"BY DEPUTY

 

 

STEVEN L. SPARKS, On Behalf of Himself and Al) )
Others Similarly Situnted, ‘

i PD ee RS " é L
Plaintiff fee oy oe
vs. . CASE NO.
BAYER CORPORATION, a foreign corporation,

Defendant.

 

TIC

Steven L. Sparks, personal representative of the Estate of Litbert O. Sparks, Jr., Deceased,
(“Plaintiff”), for his raultiple causes of action against the above-named Defendant, alleges and states
the following:

PARTIES

}. Lilbert ©. Sparks, Jr, Deceased, was at the time the events referenced herain
occurred, a citizen of the State of Oklahoma.

2. Lilbert O. Sparks, Jr, died on the 24" day of January, 2001, at Presbyterian Hospital,
Oklahoma City, Oklahoma. a

3. Steven L. Sparks, a citizen of the State of Okichoma, was appointed Personal

Representative of the Estate of Lilbert O. Sparks, Jr., Deceased, on or about the 2™ day of March,

2001 in the District Court of Oklahoma County, Oklahoma

4. Defendant, Bayer Corporation (“Defendant”), is an Indiana corporation with, on

information and belief of Plaintii its principal place of business in Indiana, and is authorized to

ee e

 
4, Defendant, Bayer Corporation (“Defendant”), is an Indiana corporation with, on
information and belief of Plaintiff, its principal place of business in Indiana, and is authorized to conduct
business andis in good standing in the State of Oklahoma. Defendantis engaged in the manufacture of
certain pharmaceuticals for distribution and sale in the State of Oklahoma.

JURISDICTION AND VENOE

3. Jurisdiction in this mater is established through Title 28 of the United States Code, Section

1332. There is complete diversity of citizenship between the Plaintiffand Defendant and the amountin

controversy exeecds $75,000.00, exclusive of interest, costs and attorney’ s fees.

6. Venue is proper in this Court pursuant to Title 28 of the United States Code, Section 1391.

Plaintiff is the proper party to bring suit in this matter pursuant to 12 Okla. Stat. (2001
Supp.) §1053.
STATEMENT OF FACTS

8. Asapredicate to the claims herein, Defendant manufacmired and distributed and/or offered
for sale or caused to be sold in the State of Oklahoma, a certain cerivastatin sodium medication known as
“Baycol” for the purpose of, inter alia, being used and administered by physicians and other health care
professionals to lower plasma cholesterol levels in patients. Plaintiff s Decedent was administered Baycol
for its stated purposes and subsequently died as a direct result thereof.

CLASS ALLEGATIONS

9. Plaintiff brings this action as a class action under rule 23 of the Federal Rules of Civil
Procedure on behalf of the class of all persons or entities who purchases or otherwise used Baycol between
the date this Complaint is filed and at least two (2) previous calendar years, inclusive.

2

IAB ayeo heomplaint-ca.wpd

 
10. | Themembersof the Class are so numerous that joinder ofall members is impracticable.
While the exact number of Class members is unknown to Plaintiff at this time, and can be ascertained only
through appropriate discovery, Plaintitt believes that there are hundreds of members of the Class located
throughout Oklahoma and the United States. Class members may be identified from records maintained
by Defendants and may be easily notified of the pendency of this action, using a form ofnotice sixollar to
that customarily used in other class actions.

11. Plaintiff's claims are typical of the clainas ofthe other members of the Class as all :nembexs

“

=

of the Class are similarly affected by Defendants’ product.

12. Plaintiff will fairly and adequately protect the interests of the members of the Class and has
retained counsel competent and experienced in class litigation.

13. Common questions of law and fact exist as to all members of the Class and predominate
over any questions solely affecting individual members of the Class. Among the questions oflaw and fact
common to the Class are:

whether the product was properly tested prior to distribution and sale by the

Defendants;

b. whether the Defendants’ product was put through tests which proved it was

dangerous prior to distribution and sale by the Defendants; and
c. to what extentmembers of the Class have sustained damages asa result of using
this dangerous product and the proper measure of damages.
14.  Aclassactionis superior to all other available methods of the fair and efficient adjudication

ofthis controversy since joinder of all members isimpracticable. Further, as the damages suffered by

3 [ABayeal\eomplaint-cs, wpd

 
individual Class members may be relatively small, the expense and burden of individual litigation makes it
impossible for members of the Class to individually redress the wrongs done to them. There will be no
difficulty in manager of this suit as a class action.

COUNTIL
Products Liability

15.  Plaintiffrestates and realleges paragraphs 1 through 14 of this Complaint and in addition,
states matters as set forth below:

16. The subject medication was prescribed to Plaintiff's Decedent on or about the 6" day of
December, 2000. On information and belief of Plaintiff, Plaintiff’s Decedent began taking the prescribed
Baycol within 24 hours of the prescription date.

17. Defendant warranted that said medication was safe for the ordinary purposes for which said
medication was manufactured and. sold; to wit: for use as a plasma cholesterol lowering agent,
notwithstanding that Defendant was in possession of information that said medication had caused serious

injuries and death to individuals who had taken it as prescribed.

18. Plaintiff was a person who used and was reasonably expected to use said medication.

19.  Thesubject medication was defective at the time of its manufacture, distribution and sale,

and said medication was unreasonably dangerous to a person taking the medication pursuant to a physician

or other health care professional’s orders.
20. Additionally, Defendant failed to adequately warm physicians, other health care

professionals and consumers of the dangers of taking said medication and failed to make public complaints

and incidents involving serious mjury or death to others with respect to said medication, The injuries and

[\Bayralcomplalnt-ca.wpd

 
ultimate death suttered by Plaintiff s Decedent was a direct and proximate cause of the acts of omission

or commission on the part of Defendant.

21.  Asaresultofthe actions and conduct of Defendant, Defendant is liable to Plaintiff for the

damages arising from the manufacture, distribution and sale of said defective product.

22, The full extent of Pluilifl’s injuries caused by said acts of Defendant exceed the sum of
$75,000.00, exclusive of interest and costs for which Plaintiff is entitled to recover, together with a
reasonable attomey’a fees.

COUNT II.

23.  Plaintiffrestates and realleges paragraphs 1 through 22 of this Complaint and in addition,
states matters as set forth below:

24. Defendant owed a duty to Plaintiff's Decedent in the manufacture, distribution and/or sale
ofthe medication to be prescribed by healthcare professionals for the purpose for which it was intended.

25. Defendant breached said duty by negligently supervising and/or controlling the formula and
manufacturing process of said medication, and in failing to adequately warn the medical profession and the
public as to the inherent dangers of prescribing and taking said medication.

26. Moreover, Defendant failed to properly and promptly act by removing the subject Baycol
from the market after it became known to Defendant that said medication could cause serious injury and
death.

27.  Theinjuries and death of Plaintiff’s Decedent were a direct and proximate result of the

negligent conduct of Defendant, Bayer Corporation.

I\Bayeoeomplaintcs. wpd

 
28. Asadirect and proximate result of the negligence of Defendant, Plaintiffhas suffered
injuries and damages in excess ot $75,000.00, exclusive of interest and costs, and areasonable attorney’s
fees, which Plaintitt is entitled to recover from Defendant.

COUNT UL.
PUNITIVE DAMAGES

29. — Plaintiffrestates and realleges paragraphs 1 through 28 of this Complaint and in addition,
states matters as set forth below:

30. Defendant’s conduct and actions, the awareness of the Befendant of the serious,

immediate and life-threatening hazard of said medication, and the failure by Defendant to fully disclose and

publicize the dangers of said medication, subject Defendant to exemplary damages to the fullest extent of
the law.

31. Asa direct and proximate result of the conduct of Defendant and the imminent hazard
posed to the general public as a result thercof, Plaintiff should be awarded exemplary damages in excess
of $75,000.00 and in the maximum amount allowed by law.

COMBINED PRAYER

WHEREFORE, Plaintiff prays forjudgment against the Defendant on the claims set forth above,
and that Plaintiff be awarded actual and compensatory damages exceeding $75,000.00; consequential
damages in excess of $75,000.00; exemplary damages in the maximum amounts allowed by law and in
excess of 575 000.00; actual damages for all losses sustained under the applicable law, as well as damages
for mental anguish, interest, costs and attorney fees; and for such other and further reliefas may be deemed

just and equitable by the Court.

IABnycol\complaine-cu.wpd

 
— Of the Firm —-

STRONG, MARTIN & ASSOCIATES, P.L.L.C.
2518 First National Center

120 North Robinson

Okiahoma City, Oklahoma 73102

Telephone: (405) 604.7500

Facsimile: (405) 604.7503

—agnd—

Willian B. Federman, OBA #2853
Stuart W. Emmons, OBA #12281
FEDERMAN & SHERWOOD
120 N. Robinson, Suite 2720
Oklahoma City, OK. 73102
408-235-1560/FAX: 405-239-2112

—and—

2926 Maple Avenue, Suite 200
Dallas, TX 7520{

214-696-1 1LO0/FAX: 214-740-0] 12
ATTORNEYS FOR PLAINTIFF

 
 
S IVIL IN anientl

UNPTED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

EVEL YA SPERABERG. On Behalf or CINE ACHOD Au.

[lerself and AH Others Similarly Situated,

Plant. CLASS ACTION COMPLAINT

| PLAINTIFF DEMANDS A JURY

BAYER, \.G. and BAYER i TRIAL -
CORPORATION. Cc r 0 1 ° K 5 d
Ne
Defendants. GLEESON. wl

alleges upon personal knowledge ag to norsel MKANN, M...

Complaint, as follows:

Phainutt, by her atomeys,
upon imlormation aud belief as to the other allegations of this
SUMMARY OF THE ACTION

of herself and all other

1. ‘Lhis is a class action brought by plaintiff on behalf

individuals in the United States who purchased and/or ingested Baycol, a drug

manufactured, marketed and sold by defendants for the purpose of lowering the

cholesterol Jevel in a consumer's bloodstream (the “Class”’).

2. An extraordinary incidence of serious adverse reactions, including death, have

been associated with the use of Baycol. This action seeks equitable relief. including

medical monitoring on behalf of all Class members, to assure the carly diagnosis and

rregument of individuals exposed to adverse reactions ussociated with Baycol use and

nionclary damages. including but not limited to, a full refund of all costs associated with

the purchase and/or use of Baycol. Plaintiff also seeks revised patient warnings and

 
emergency notice to the Class so that Class members will be apprised of the potentially
life-threatening reactions which have been associated with use of Baycol.
JURISDICTION AND VENUE

3. This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332. The
amount in controversy exceeds $75,000, exclusive of interest and costs, because the Class
has a common and undivided interest in obtaining monetary damages and
injunctive/equitable relief including medical monitoring, emergency notice and revised
drug warnings, far exceeding $75,000 in value, and there is complete diversity of
citizenship between the named plaintiff and the defendants.

4. Venue is properly laid in this District. Plaintiff resides in, purchased and took
the relevant product in this District.

THE PARTIES

5. Plaintiff, Evelyn Sternberg, is a resident of the State of New York. Plaintiff
purchased and medicated with Baycol beginning on or about July 6, 2001, pursuant to a
physician's prescription. Shortly thereafter, plaintiff suffered from Rhabdomyolysis
attributable to Baycol use and required hospitalization.

6. (a) Defendant Bayer A.G. is a German company engaged in, among other
businesses, the manufacture, marketing and sale of pharmaceutical products in the United
States and throughout the world.

(b) Nefendant Bayer Corporation. a corporation organized and existing under

the laws of the State of Pennsylvania, is a wholly owned subsidiary of Bayer A.G.,

through which Bayer A.G. runs its United States operations. Bayer Corporation has

offices and facilities throughout the United States with its headquarters located in

 
Pittsburgh, Pennsylvania. Defendants Bayer A.G. and Bayer Corporation shall be

collectively referred to herein as “defendants” or “Bayer.”

FACTUAL BACKGROUND

7. On August 8, 2001, the Food and Dmg Administration (“FDA”) announced that
Bayer was voluntarily withdrawing Baycol (cerivastatin) from the United States market
due to reports of sometimes fatal rhabdomyolysis, a severe adverse reaction from this
product.

8. Rhabdomyolysis is a condition that results in muscle cell breakdown and release
of the contents of muscle cells into the bloodstream. Symptoms of rhabdomyolysis may
include muscle pain, weakness, tenderness, malaise, fever, dark urine, nausea and
vomiting. The pain may involve specific groups of muscles or may be generalized
throughout the body. Most frequently the involved muscle groups are the calves and
lower back. In rare cases the muscle injury is so severe that patients develop renal failure
and other organ failure, which can be fatal.

9. The FDA approved Baycol in 1997. The drug is a member of a class of
cholesterol lowering drugs that are commonly referred to as “statins.” Statins lower
cholesterol levels by blocking a specific enzyme in the body that is involved in the
synthesis of cholesterol. According to the FDA, all statins have been associated with
very rare reports of rhabdomyolysis. However, cases of fatal rhabdomyolysis in
association with the use of Baycol have been reported significantly more frequently than
has been the case with other approved statins. This is particularly so when Baycol is used
at “higher doses.” when used by elderly patients, and when used in combination with

gemfibrozil (LOPID and generics) — another lipid-lowering drug. The FDA received

 
reports of at least thirty-onc deaths in the United States due to severe rhabdomyolysis

associated with use of Baycol. Twelve of those deaths involved concomitant use of

gemfribrozil. There are reports of many more deaths outside of the United States

associated with Baycol usc.

10. Despite knowledge of the dangerous propensities of Baycol, defendants
continuously and deliberately concealed from and misrepresented to the consuming
public the real facts conceming safety and efficacy of Baycol. In fact, according to a
report in the August 13, 2001 issue of the German magazine Der Spiegel, in 1995 — one
year and a half before Bayer introduced Baycol to the market — Bayer learned that Baycol
might have caused the death of a patient who had taken Baycol.

11. The FDA has now recommended that patients who are taking Baycol consult
with physicians about switching to alternate medications to control their cholesterol
levels.

CLASS ACTION ALLEGATIONS

12. Plaintiff brings this action as a class action for monetary damages, equitable,
injunctive and declaratory relief pursuant to Federal Rule of Civil Procedure 23(b)(1),
23(b)(2) and 23(6)(3) on behalf of a Class consisting of all persons who purchased and/or
ingested the drug Baycol.

13. Plaintiff is a member of the Class she seeks to represent. The members of the
Class are so numerous that joinder of all members is impracticable.

14. The issues in the action are common to all members of the Class. Each

purchaser of Baycol has been affected in the same manner by defendants’ practice of

 
concealing, suppressing and/or omitting the serious risk of life-threatening and/or serious

adverse reactions associated with the use of Baycol.
15. There are questions of law and fact common to the Class including, but not
limited to:
4 Whether defendants designed, manufactured and/or marketed dangerously
defective products for which they are strictly liable,
b. | Whether defendants negligently designed, manufactured, labeled and/or

marketed the relevant products; “

c. Whether use of Baycol causes Rhabdomyolysis and/or other serious

adverse reactions or diseasés;

d. Whether the Class members’ increased risk of sustaining Rhabdomyolysis
or other injury makes periodic diagnostic and medical examinations (medical monitoring)
effective and reasonably necessary;

e. Whether defendants conducted, either directly or indirectly, appropriate
pre-release testing of the relevant product,

f Whether defendants failed to adequately warn of the adverse effects of the
relevant product,

g. Whether revised patient warnings and emergency notice should be
disseminated to Class members;

h. Whether the equitable, injunctive and declaratory relief requested herein
should be granted;

/ Whether defendants’ allegedly knowing or intentional concealment,

suppression, or omission of material information in connection with the sale of the

 
relevant products constitutes fraudulent and/or deceptive acts and practices within the

meaning of New York General Business Law §349, Consumer Protection from Deceptive

Acts and Practices, (“GBL §349”); and
|. Whether the Class has been injured by virtue of defendants’ violations of
GBL §349.

16. The claims of the named plaintiff are typical of the claims of the Class in that
the named plaintiff and the members of the Class uscd the relevant product which was
designed, manufactured, supplied, distributed, sold and/or placed inthe stream of
interstate commerce by defendants, and as a result now suffer an increased risk of harm
for which medical monitoring relief is appropriate.

17. Plaintiff will fairly and adequately represent and protect the interests of the
members of the Class. Plaintiff has retained counsel competent and experienced in
complex class actions and products liability litigation. Plaintiff's interests are coincident
with, and not antagonistic to, those of the Class members.

18. Notice can be provided to Class members by a combination of published notice
and first class mail using techniques and forms of notice similar to those customarily used
in drug-related product liability, personal injury and fraud class actions.

19. Plaintiff seeks monetary damages, including but not limited to the cost of
purchasing the relevant products.

0. Plaintiffs also seek injunctive/equitable relief in the form of a court-ordered and
supervised medical monitoring program, funded by defendants, to assist plaintiff and the
Class members in the detcction and treatment of adverse reaction associated with Baycol

use. Plaintiffs also seek additional equitable relief in the form of revised drug warnings

 
and emergency notice to more adcquately advise Class members and potential users of
the relevant products of adverse reactions posed by use of the relevant product,

24. Class certification is appropriate under Fed. R. Civ. P, Rule 23(b)(1) because,
inter alia, the prosecution of separate actions by individual members of the Class would
create a risk of incompatible standards of conduct for defendants and inconsistent or
varying adjudications for all parties.

22. Class certification is also appropriate pursuant to Fed. R. Civ. P. Rule 23(b)(2)
because defendants have acted, or refused to act, on grounds generally applicable to the
Class, making appropriate preliminary and final injunctive and declaratory relief
consisting of medical monitoring, revised patient warnings and emergency notice with
respect to plaintiff and the Class members.

FIRST CLAIM FOR RELIEF
STRICT PRODUCT LIABILITY
(FAILURE TO WARN)

93. Plaintiff incorporates by reference all other paragraphs of this complaint as if
fully set forth here and further alleges as follows:

94. Defendants are manufacturers and/or suppliers of the relevant product.

25, Ihe relevant product manufactured and/or supplied by defendants were not and
are not accompanied by proper warnings regarding possible Rhabdomyolysis or other
injuries associated with the use of the relevant product. The waruings given did not

accurately reflect the risks, incidents, symptoms, scope or severity of such injuries.

36. Defendants failed to perform adequate testing in that adequate testing would

have shown that the relevant product, used individually and/or in any combinauion

thereof, posed a serious risk of Rhabdomyolysis or other injuries with respect to which

 
(ull, adequate and proper warnings should have been made, both with respect to the use

of the drug, individually and with respect to any combination use of Baycol with other

drugs.

27. The relevant product manufactured and/or supplied by defendants were
defective duc to inadequate post-markcting warning or instruction because, after the
defendants knew or should have known of the risk of Rhabdomyolysis or other injury
from the relevant product, they failed to provide adequate warnings to uscrs Or consumers
of the product. os

28. As the producing cause and legal result of the defective condition of the relevant
product as manufactured and/or supplied by defendants, and as a direct and legal result of
the negligence, carelessness, other wrongdoing and actions(s) of defendants described
herein, plaintiffs have suffered a significantly increased risk of Rhabdomyolysis or other
adverse reaction for which medical monitoring, in the form requested herein, is

necessary, appropriate and beneficial.

SECOND CLAIM FOR RELIEF
STRICT PRODUCT LIBILITY

39. Plaintiff incorporates by reference all other paragraphs of this complaint as if
fully set forth here and further alleges as follows:

30. Defendants are manufacturers and/or suppliers of the relevant product.

3). The relevant product manufactured and/or supplied by defendants was defective
in design or formulation in that, when it left the hands of the defendants, the foreseeable

risks exceeded the benefits associated with its design or formulation.

 
  
     
  

32. Alternat’

was defect

was unreaso ih

4 direct Tes
defendant
d risk of

increase

monitorin

fully set forth

 

product

Riabdomyol

37. Defendants were

warning, ©

atively, whe £

tive in design or

nably dangerous,

sult of Ihe peg
s described herein:

F oystainin

ing relief sought

a4. Plaintt

35. Defen
and/or di stribu
to assure that
effects when

36. Defe

quality assura’

O1 Page 62 of 72

elevant product manufactured and/or supplied by defendants
at, when it left the bands of the defendants, it

formulations, in th
ous than an ordinary consumer would expect.

s, MOre danger
and unreasonad!

(t of the defective

y dangerous

roduct, a5 -gufacre and/or supplied by defendants, and 2s
carelessbess, other wrongdoing and/or action(s) of

the Class have $

igence,
uffered 4 significantly
disease (or-which the medi cal

g Rhabdomyolys)

below is necessary» appropriate

THIRD CLAIM FOR
NEGLIGENCE

y reference ali other paragraphs of

iff incorporates b
alleges 48 follows:

here and further
ty to exercise reasonable care in

dants had a du

tion of the relev

the product did not cause users

used alone ot iD combination.

ndants failed to exercise ordi

nce, quality con
dcfendants know OT should hav

amctes itt that
created a nigh risk of unreasonable. dangerous side
1 Cause extraordinary guifering and death.

ysis which cal
avertising,

e negligent in the dcsigo, manufacture: tesuing. 4
, sale of the relevant product in that they-

jarketing and/o

 

 
32. Alternatively, the relevant product manufactured and/or supplied by defendants
was defective in design or formulation, in that, when it left the hands of the defendants, it
was unreasonably dangerous, more dangerous than an ordinary consumer would expect.

33, Asa dircet and proximate result of the defective and unreasonably dangerous
condition of the relevant product, as manufactured and/or supplied by defendants, and as
a direct result of the negligence, carelessness, other wrongdoing and/or action(s) of
defendants described herein, plaintiff and the Class have suffered a significantly
increased risk of sustaining Rhabdomyolysis and/or other disease for-which the medical
monitoring relicf sought below is necessary, appropriate and beneficial.

THIRD CLAIM FOR RELIEF
NEGLIGENCE

34. Plaintiff incorporates by reference all other paragraphs of this complaint as if
fully set forth here and further alleges as follows:

35. Defendants had a duty to exercise reasonable care in the manufacture, sale
and/or distribution of the relevant product into the stream of commerce, including a duty
to assure that the product did not cause users to suffer from unreasonable, dangerous side
effects when used alone or in combination.

36. Defendants failed to exercise ordinary care in the manufacture, sale, testing,
quality assurance, quality control, and/or distribution of the relevant products into
interstate commerce in that defendants knew or should have known that the relevant
product ereated a high risk of unreasonable, dangerous side effects including

Rhabdomyolysis which can cause exttaordinary suffering and death.

37. Defendants were negligent in the design, manufacture, testing, advertising,

warning, marketing and/or sale of the relevant product in that they:

 
a. Failed to use duc care in designing and manufacturing the relevant product
co as to avoid the aforementioned risks to individuals,

bh. Failed to accompany their product with proper warnings regarding all
possible adverse cffects associated with the use of the relevant product alone or in
combination;

c.  Kailed to conduct adequate pro-clinical and clinical testing and post-

marketing surveillance to determine the safety of the relevant product,

d. Failed to provide adequate training and instruction te medical care

providers for appropriate use of the relevant product either individually or in
combination,

e. Failed to warn plaintiff and the Class prior to actively encouraging the sale
of the relevant product cither directly or indirectly, orally or in writing, about the
following: (1) the need for comprehensive, regular medical monitoring to ensure early
discovery of potentially fatal side effects; and/or (2) the possibility of becoming disabled
as a result of the use of the relevant product, and/or (3) the possibility of requiring
hospitalization as a result of adverse reactions associated with use of Baycol.

{. Failed to adequately test and/or wam about the reaction or interaction of
the relevant product including. without limitation, the possible adverse side effects
caused by the reaction or interaction between the drugs as 4 result of combination use;

yg. Kailed to warn that the risks associated with the relevant product would
exceed the risks of other comparable drugs; and

Were otherwise careless or negligent.

 
3%. Despite the fact that defendants knew or should have known that the relevant
product caused unreasonable, dangerous side effects defendants continued to market the
relevant product to consumers including plaintiff despite the availability of sater
alternative drugs.

39. Defendants knew or should have known that consumers such as plaintiff and the
Class would foreseeably suffer injury as a result of defendants’ failure to exercise

ordinary care as described above.

40. Defendants’ negligence was a proximate cause of plaintiff s.and the Class’

increased risk of harm as previously set forth herein.

FOURTH CLAIM FOR RELIEF
BREACH OF IMPLIED WARRANTY

41. Plaintiff incorporates by reference all paragraphs of this complaint as if fully set
forth here and further alleges as follows:

42. At the time defendants marketed, sold and/or distributed the relevant products
for use by plaintiff and the Class, defendants knew the use for which the relevant product
was intended and impliedly warranted the product to be of merchantable quality and safe
and fit for such use.

A3. Plaintiff, the Class and their physicians reasonably relied upon the skill and
judgment of defendants as to whether the relevant products and combination use thereof
were of merchantable quality and safe and fit for its intended use.

44, Contrary to such implicd warranty, the relevant product was not of merchantable
quality or safe or fit for their intended use, because the product was and is unreasonably

dangerous and unfit for the ordinary purposes for which it was used as described above.

 
45. As a direct and proximate result of the defendants’ breaches of implied
warranty, plaintiff and the Class suffered an increased risk of harm as previously

described above.

FIFTH CLAIM FOR RELIEF
VIOLATION OF GBL 8349

46. Plaintiff incorporates by reference all other paragraphs of this complaint as if
fully set forth here and further alleges as follows:

47. Defendants omitted, suppressed or concealed the danger posed by the relevant
product in order to increase sales. :

48. The defendants knew or should have known, and would have known had
appropriate testing been done, that use of the relevant product caused serious and
potentially life threatening adverse effects including Rhabdomyolysis.

49, The widespread misuse of the relevant product is the direct result ot defendants’
calculated silence implicitly and explicitly endorsing the drug for the profess purpose of
lowering cholesterol levels, despite the fact that the defendants either knew or should
have known that use of the relevant product had been linked with serious, irreversible and

sometimes fatal illnesses.

50. Despite defendants’ knowledge of the growing public acceptance of

misinformation and mistepresentations regarding both the safety and efficacy of the use

of the relevant product, defendants engaged in and maintained a calculated silence
regarding their use because the prospect of future profits outweighed health and safely
iscues to the detriment of the public, the plaintiff and the Class herein.

5}. The defendants purposefully downplayed the adverse effects or provided

misinformation about adverse reactions and potential harms from the use of the relevant

 
product, and succeeded in persuading large segments of the medical community to
prescribe the drug despite a lack of efficacy and the significant dangers set forth herein.

52. The defendants had a clear post-manufacture duty to warn which arose when
they knew, or with reasonable care should have known, that the relevant product was
unsafe.

§3. Detendants’ knowing omission, suppression and/or concealment of material
facts in connection with the marketing and/or distribution of the relevant products
constitutes deceptive acts or practices in violation of GBL §349. .

54, Neither plaintiff nor the Class could have discovered the truth about the relevant
product through a reasonable inquiry or inspection, particularly since plaintiff and the
Class relied upon defendants’ silence as a representation that there were no serious, let
alone deadly, risk associated with use of the relevant product.

55, The concealed, suppressed, omitted and/or misrepresented information was

precisely the type of information that, had plaintiff and the Class been aware, would have

caused them to act differently. Plaintiff and the Class, however, were at the defendants’

mercy to the extent defendants controlled the type of information available to the public

about the relevant products.

$6. Defendants’ violations of GBL §349 are the direct or proximate cause of
plaintiff's and the Class” significantly increased risk of sustaining Rhabdomyolysis or
other serious adverse reactions and/or death.

$7. Asa result of these violations of GBI. §349, plaintiff and the Class have
suffered ascertainable losses, including all costs incurred by plaintiff and the Class in

purchasing the relevant product.

 
§349, defendants are liable to plaintiff

58, As arcsult of these violations of GBL

and the Class for treble their actual damages. GBL §349(h)
s violations of GRL §349, defendants

are liable

59. Asa further result of defendant
heir reasonable attorneys’ fees, filing fees and costs. GBL

to plaintiffs and the Class fort

§349(h).

CLASS ACTION INJUNCTIVE AND EQUITABLE RELIEF

1. MEDICAL MONITORING

ference all other paragraphs of this complaint as if

60. Plaintiff incorporates by re

er alleges as follaws on behalf of herself and all others

fully set forth here and furth

similarly situated:
61. As a direct and proximate result of defendants’ acts, omissions, and conduct as
set forth above, pl aintiff and each Class member has been exposed to 4 hazardous

substance and, as 4 result, suffer a significantly increased risk of contracting serious
eased risk makes penodic

injury or disease, including Rhabdomyolysis. This mer

diagnostic and medical cxaminations reasonable and necessary.
62. Early detection and diagnosis of these diseases is clinically invaluable since it
can prevent, reduce and/or significantly delay resulting discomfort, suffering and/or

death.

63. Easily administered, cost-effective monitoring and testing procedures exist
which make the early detection and treatment of such injuries or disease possible and
beneficial. Early diagnosis of these diseases and conditions will allow prompt and

effective treatment. which will reduce the risk of morbidity and mortality which these

 
patients would suffer if treatment was delayed until their conditions became overtly
symptomatic.

64. The recommended testing procedures will be subject to expert testimony at the
time of Class certification and/or tial;

65. Many individuals at risk for Rhabdomyolysis cannot afford to get appropriate
testing and/or have not been advised and do not otherwise know of the need to undergo

testing. Class members also need to be advised of the availability of non-invasive testing

as a diagnostic tool and treatment which will prevent even graver injury.

66. The increased susceptibility to injuries and irreparable threat to the health of
plaintiff and other Class members resulting from their exposure to the relevant product
can only be mitigated or addressed by the creation of a comprehensive medical
monitoring program including:

a. Notifying individuals who use or used the relevant product;

b. Funding further studies of the long term effects of using the relevant
product;

Funding research into possible cures for the detrimental effects of using

the relevant product;

d. Gathering and forwarding to treating physicians information relatcd to the
diagnosis and treatment of injuries which may result from using the relevant product; and

e. Aiding in the early diagnosis and treatment of resulting injuries through
ongoing testing and monitoring of the relevant product users.

67. The relevant product users have no adequate remedy at law in thal monetary

damages alone do not compensate for the continuing nature of the harm to them. A

 
monitoring program which notifies them of possible injury and aids in their treatment can
prevent the greater harms which may not occur immediately and which may be
preventable is proper rescarch is conducted and the health risks are diagnosed and treated
before they occur or become Worse.

6%. Without a court-approved medical monitoring program, the relevant product
users will not receive prompt medical care which could detect and prolong their
productive lives, increase prospects for improvement and minimize disability.

2. UPDATED PATIENT WARNIGNS AND EMERGENCY NOTICE

69. Plaintiff incorporates by reference all other paragraphs of this complaint as if

fully set forth here and further alleges as follows:

70. Defendants have a continuing duty to wam plaintiff, the Class and the public of
all potential risks and dangers of which they become or should become aware. Asa
proximate result of the defendants’ conduct described hercin, plaintiffs, on behalf of
themselves and all others similarly situated, are entitled to damages and/or equitable
relief in the form of revised drug warnings, or equivalent remedial and corrective action,
to accurately reflect the known adverse side effects of the relevant products, at
defendants’ expense.

71. Defendants should be required to provide continuously updated product
warnings to individuals who use and/or have previously used the relevant product to
apprise them with timely information concerning effective testing and treatment options
for those suffering from, or at risk for, Rhabdomyolysis or other serious adverse reactions
caused by the relevant product.

WHEREFORE, PLAINTIFF PRAYS FOR RELIEF AS FOLLOWS:

 
1. That this action be certified as a class action on behalf of the proposed
Class of all persons who purchased and/or ingested Baycol, that the named plaintiff be
designated as representative of the Class and that named counsel be designated Class
Counsel,
2. Creation of a comprehensive, court-supervised medical monitoring
program which will:
a. Ensure early diagnosis and treatment of resulling Rhabdomyolysis and
other injuries through ongoing testing and monitoring of the relevant product users;
b. Notify individuals who use or used the relevant product of the potential
harm from the relevant product;
Fund further studies of the long term effects on the relevant product;
d. Fund research into possible cures for the detrimental effects of using the
relevant product;
e. Gather and forward to treating physicians information related to the
diagnosis and treatment of injuries which may result from the use of the relevant product;

and

Provide Class members with revised drug warnings and emergency notice.

3. Monetary damages, including but not limited to, a full refund of all costs
associated with the purchase of the relevant products;
4. Compensatory damages;
Treble damages;
Attorneys’ feces, expenses and costs of this action; and

Such other and further relief as may be just and proper.

 
JURY TRIAL DEMAND

Plaintiff demands trial by jury on all issues so triable.

Dated: August 16, 2001
Respectfully submitted,

KAPLAN FOX & KILSHEIMER LLP

CLL.
Frederic S. Fox (FF-9102)
Laurence D. King (LK-7190)
Joel B. Strauss (JS-6585)
William J. Pinilis (WP-2130)
805 Third Avenue
22™ Floor
New York, New York 10022
Telephone: (212) 687-1980

_ Fax: (212) 687-7714

 

and

GIRARD & GREEN LLP
Robert Green

160 Sansome Street

Suite 300

San Francisco, CA 94104
Telephone: (415) 981-4800
Fax: (415) 981-4846

Attomeys for Plaintiff

 
